Case 2:05-cV-O2413-.]DB-STA Document 22 Filed 07/18/05 Page 1 of 3 Page|D 21

Fn£o sr ;~ r).c.

IN THE UNITED sTATEs DIs'rRICT COURT .%

FoR THE WESTERN DISTRICT OF TENNESSE l P , m
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VICKIE MILLER, W;D Oi' ;§r, t»ir”;t.iPHlS
Plaintiff,
v. No. 05-2413-B/An

NIPPON CARBON COMPANY, LTD, et al.,

Defendants .

 

ORDER OF REFERENCE

 

Before the court is the Motion of Hartford Fire Insurance Company to Intervene as
Plaintiff filed on July 14, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. §§§ Rule 72(a), Federal Rules of Civil Procedure.

, J, ‘t"\
IT IS SO ORDERED this g g day of July, 2005.

 

.DANIEL BREEN \
IQIII.J.D sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
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Honorable .1. Breen
US DISTRICT COURT

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